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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:07CR3169
                                     )
           v.                        )
                                     )
ANA C. CALIX,                        )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     The unopposed motion for enlargement of time, filing 36, is
granted and defendant is given to February 15, 2008 to file
pretrial motions.


     DATED this 31st day of January, 2008.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
